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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                                             Case No.: 1:21-CR-40-4

CHRISTOPHER QUAGLIN.
_____________________________/


                        MOTION FOR ADMISSION PRO HOC VICE

       Pursuant to Criminal Local Rule 44.1 (c) & (d), Defendant Christopher Quaglin moves

for the admission and appearance of attorney Maria Rodriguez pro hac vice in the above-

captioned case. This motion is supported by the Declaration of Ms. Rodriguez, filed herewith. As

set forth in Ms. Rodriguez’s declaration, she is admitted and an active member in good standing

in the following courts and bars for more than ten (10) years:

1. The State of Florida; and

2. United States District Court for the Middle District of Florida.

       This Motion is supported and signed by Jonathan Gross, Esq. an active and sponsoring

member of the Bar of this Court.

Respectfully submitted,

By: /s/Jonathan Gross
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Counsel for Defendant Christopher Quaglin
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                               CERTIFICATE OF SERVICE

       I hereby certify on this 28th day of April 2023, a copy of the foregoing was served upon

all parties as forwarded through the Electronic Case Filing (ECF) System.

                                    /s/ Jonathan Gross, Esq

                                     Jonathan Gross, Esq.
